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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 KELLY EASTER,

                   Plaintiff,

          v.                                         No. 1:21-cv-02681-APM

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                   Defendants.


                                 NOTICE OF APPEARANCE

       Please take notice that Joel McElvain, U.S. Department of Justice, Civil Division, hereby

enters his appearance on behalf of the Defendants.

Dated: December 21, 2021                    Respectfully submitted,

                                            BRIAN M. BOYNTON
                                            Acting Assistant Attorney General

                                            MICHELLE R. BENNETT
                                            Assistant Branch Director

                                            /s/ Joel McElvain
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